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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LOLA LUCIO,

             Plaintiff,                  Case No. 19-11771
                                         District Judge Mark A. Goldsmith
v.                                       Magistrate Judge R. Steven Whalen

CHARLES EDMONDS, et al.,

          Defendants.
_____________________________/

                 NOTICE OF SETTLEMENT CONFERENCE

      TAKE NOTICE that the above-entitled matter has been scheduled for

settlement proceedings on TUESDAY, AUGUST 4, 2020 at 1:30 P.M., before

Magistrate Judge R. Steven Whalen, at 635 Theodore Levin Courthouse, 231 W.

Lafayette, Detroit, MI 48226. All parties with full settlement authority must be

present. “Full settlement authority” means authority to settle the case up to the

Plaintiff’s last demand or down to the Defendant’s last offer.

      The parties shall adhere to the following procedures and ATTORNEYS WHO

FAIL TO COMPLY WITH THESE REQUIREMENTS WILL BE

SANCTIONED:

       At least fourteen (14) days prior to the settlement conference, counsel for the
parties shall meet and confer in a good-faith attempt to settle the case or to narrow the
areas of disagreement. They shall exchange good-faith and realistic offers to settle,
and shall explain to each other why their demand or offer is reasonable. If a demand
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or offer is rejected, the attorney who rejects shall explain to opposing counsel the
reasons for the rejection.

      Seven (7) days before the settlement conference, the parties shall submit
confidential, ex-parte settlement statements directly to the chambers of the Honorable
R. Steven Whalen, United States Magistrate Judge. DO NOT FILE THESE
STATEMENTS WITH THE COURT. They can be faxed to (313) 234-5117, e-
mailed to Terri_Hackman@mied.uscourts.gov and
Carolyn_Ciesla@mied.uscourts.gov or hand delivered. These statements shall be
limited to ten (10) pages, and shall include the following:

      -A short summary of the pre-conference meet-and-confer, including the last
      demand and offer made;

      -A statement of why that demand or offer was rejected;

      -A realistic statement of what the party requires in order to settle this case.

      While the settlement statement may include a summary of the facts, claims and
defenses, it is not a summary judgment motion, and counsel should be mindful that
the Magistrate Judge who is facilitating settlement is not trying the case or deciding
dispositive motions at this point.

      At the settlement conference, the parties and their attorneys are expected to
conduct themselves in a business-like manner and to negotiate in good faith.
Posturing and other theatrics are prohibited.

                                        s/R. Steven Whalen
                                        R. STEVEN WHALEN
                                        UNITED STATES MAGISTRATE JUDGE
Dated: December 11, 2019
______________________________________________________________________
                          CERTIFICATE OF SERVICE

       I hereby certify on December 11, 2019, I electronically filed the foregoing
paper with the Clerk of the Court sending notification of such filing to all counsel
registered electronically. I hereby certify that a copy of this paper was mailed to the
following non-registered ECF participants on December 11, 2019: None

                                        s/Terri L. Hackman
                                        Judicial Assistant to
                                        Magistrate Judge R. Steven Whalen
